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                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________
No. 23-5162                                                     September Term, 2023
                                                                           1:19-cv-01544-ABJ
                                                            Filed On: November 9, 2023
Scotts Valley Band of Pomo Indians,

                  Appellee

         v.

United States Department of the Interior, et
al.,

                  Appellants


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Consolidated with 23-5170


                                             ORDER

       Upon consideration of the motion to dismiss filed in No. 23-5162 on
July 19, 2023, and the stipulation of dismissal filed in these consolidated cases on
November 6, 2023, it is

         ORDERED that the motion to dismiss in No. 23-5162 be dismissed as moot. It is

      FURTHER ORDERED that the Clerk note on the docket that these consolidated
cases are dismissed. No mandate will issue.


                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     /s/
                                                              Laura M. Morgan
                                                              Deputy Clerk
